Case 1:20-cv-02658-CJN Document 15-27 Filed 09/23/20 Page 1 of 2




              EXHIBIT 21
9/23/2020           Case 1:20-cv-02658-CJN
                 Announcement                               Document
                              No. 38 (2020) of the Ministry of Commerce and15-27      Filed
                                                                            the Ministry       09/23/20
                                                                                         of Science          Page
                                                                                                    and Technology    2 of 2 and Issuing the Cat…
                                                                                                                   on Adjusting


                                                      (http://www.mofcom.gov.cn)




  Home (/index.shtml) >     Policy Release (/article/b/) >     Service Trade (/article/b/xxfb/)


    Source: Department of Trade in Services and Commercial Services, Ministry of Commerce                   2020-08-28 21:30




  Announcement No. 38 (2020) of the Ministry of Commerce and the Ministry of
  Science and Technology on Adjusting and Issuing the Catalogue of Technologies
  Prohibited and Restricted from Exporting in China



        According to the "Foreign Trade Law of the People's Republic of China" and the "Administrative R
  egulations of the People's Republic of China on Technology Import and Export", the Ministry of Comme
  rce and the Ministry of Science and Technology of the "Catalogue of China's Export Prohibited and Re
  stricted Technologies" (Annex No. 12, Order of the Ministry of Commerce, Ministry of Science and Tec
  hnology, 2008) Some adjustments are now announced. Those technologies that are dual-use technologies
  are included in export control management.




                                                 Ministry of Commerce Ministry of Science and Technology


                                                                                                   August 28, 2020




     Adjusted content of "China's Export Prohibited and Restricted Technology Catalog" (http://images.mof
  com.gov.cn/fms/202008/20200828200911003.pdf)




  Business hotspot

www.mofcom.gov.cn/article/b/xxfb/202008/20200802996641.shtml                                                                                  1/2
